
652 S.E.2d 645 (2007)
John R. KUCAN, Jr. and Terry Coates, on behalf of themselves and all other persons similarly situated
v.
ADVANCE AMERICA, Cash Advance Centers of North Carolina, Inc.; Advance America, Cash Advance Centers, Inc.; and William M. Webster, IV.
No. 464P06.
Supreme Court of North Carolina.
October 11, 2007.
J. Jerome Hartzell, Raleigh, Carlene McNulty, F. Paul Bland, Jr., Mallam J. Maynard, Mona Lisa Wallace, Salisbury, John Hughes, Greensboro, Richard A. Fisher, for Hager and Hall.
Saul M. Pilchen, Washington, DC, Johnny M. Loper, Raleigh, John Coble, Wilmington, for Advance America, et al.

ORDER
Upon consideration of the petition filed by Plaintiffs on the 31st day of August 2006 in this matter for discretionary review under *646 G.S. 7A-31 prior to a determination by the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 11th day of October 2007."
